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                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

In re:
                                                        Chapter 11

Granite City Food & Brewery Ltd.,                       Case Nos.: 19-43756
Granite City Restaurant Operations, Inc.,                          19-43757
Granite City of Indiana, Inc.,                                     19-43758
Granite City of Maryland, Inc.,                                    19-43760
Granite City of Kansas Ltd.,                                       19-43759

                                                        Joint Administration Pending
                                  Debtors.


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 1109(b) and Rule 9010 of the

Federal Rules of Bankruptcy Procedure, the undersigned Charles E. Nelson, Esq., of Ballard Spahr
LLP, is appearing in the above captioned cases on behalf of STORE Capital Corporation and

STORE Master Funding I, LLC.

         Pursuant to Fed. R. Bankr. P. 2002(g), all notices and papers served or filed in this case,

including all pleadings, motions, applications, orders financial and other documents should be
served upon:
                Charles E. Nelson, Esq.
                Ballard Spahr LLP
                80 South Eighth Street, Suite 2000
                Minneapolis, MN 55402
                Telephone: (612) 371-2438
                Facsimile: (612) 371-3207
                E-mail: nelsonc@ballardspahr.com

         This request for notice is intended, without limitation, to constitute such request for

service as is required by Bankruptcy Rules 2002 and 3017, and a request for court
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designated service as set forth in Bankruptcy Rules 3019, 3020(b)(1), 4001(a)(1), 6006(c),

9007, 9013 and 9019 and to receive CM/ECF notification in the case.

       Neither this Notice of Appearance nor any subsequent appearance, pleading, claim

or suit is intended to waive (i) any party’s right to have final orders in non-core matters

entered only after de novo review by a district court judge; (ii) any party’s right to trial by

jury in any proceeding triable herein, or in any case, controversy or proceeding related

hereto; (iii) any party’s right to have the reference withdrawn by the District Court in any

matter subject to mandatory or discretionary withdrawal; or (iv) any other rights, claims,

actions, defenses, setoffs, or recoupments to which any party is or may be entitled under

agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

recoupments are expressly reserved.


       The foregoing simply constitutes demand and request for notice and does not constitute

consent to the jurisdiction of the Bankruptcy Court or a waiver of the right to trial by jury

Dated this 19th day of December, 2019.
                                                      BALLARD SPAHR LLP

                                                      /s/ Charles E. Nelson
                                                      Charles E. Nelson
                                                      nelsonc@ballardspahr.com
                                                      2000 IDS Center
                                                      80 South 8th Street
                                                      Minneapolis, MN 55402-2119
                                                      Telephone: 612.371.3211
                                                      Facsimile: 612.371.3207
                                                      Counsel for STORE Capital Corporation and
                                                      STORE Master Funding I, LLC
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on December 19,
2019 by this Court’s CM/ECF System on all parties receiving electronic notice in the case.


                                                    /s/ Charles E. Nelson
